                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06 CR 43-4


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )           ORDER
                                              )
KIMBERLY DAWN PALMER,                         )
                                              )
                 Defendant.                   )
____________________________________          )


        THIS CAUSE coming before the undersigned upon two Violation Reports

(#89-1), (#94) filed by the United States Probation Office alleging that Defendant

had violated terms and conditions of her presentence release. At the call of this

matter on for hearing it appeared that Defendant was present with her counsel,

Albert Messer, and the Government was present through Assistant United States

Attorney, Don Gast. From the evidence offered and from the statements of the

Assistant United States Attorney and the attorney for the Defendant, and the

records in this cause, the Court makes the following findings.

        Findings:   At the call of the matter, the Defendant, by and through her

attorney, admitted the allegations contained in the Violation Reports.

        The Defendant was charged in a bill of indictment (#1) filed on June 5, 2006

with conspiracy to manufacture and possess with intent to distribute

methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and 846. On July 31,



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2006, the undersigned released the Defendant on terms and conditions of pretrial

release. (#57) The conditions of release included the following:

      (1)   Defendant shall not violate any federal, state or local law while on

            release.

      (7)(m) Defendant is to refrain from use or unlawful possession of a narcotic

            drug or other controlled substances defined in 21 U.S.C. § 802, unless

            prescribed by a licensed medical practitioner.

      (7)(q) Defendant must participate in home confinement program with

            electronic monitoring. Defendant was restricted to her residence at all

            times except from employment, education, religious services, medical,

            substance abuse, or mental health treatment, attorney visits, court

            appearances, court ordered obligations, or other activities as approved

            by the Officer of Probation and Pretrial Services.

      On October 3, 2006, the pretrial service officer conducted a drug test of

Defendant. The Defendant has tested positive for the use of methamphetamine and

the Defendant signed a voluntary admission statement admitting that she had used

methamphetamine on October 11, 2006. On October 2, 2006, the pretrial service

officer conducted a home visit at Defendant’s residence after receiving an

electronic monitoring notification of an open strap alert regarding the electronic


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monitoring of Defendant.       The pretrial service officer located the electronic

monitoring transmitter near a walkway at Defendant’s residence. The Defendant

was not at the residence and her whereabouts were unknown until she was arrested

in Laredo, Texas on June 10, 2014.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial

officer -----

       (1)    finds that there is----
              (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2) finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that
       the person will not flee or pose a danger to the safety of any other person or
       the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”

       Based upon the evidence, there is probable cause to believe that Defendant

committed a federal and state crime while on release. The Defendant possessed

methamphetamine so she could consume that substance. That possession violated


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both federal and state law.       The consumption of methamphetamine is a

misdemeanor under federal law.        21 U.S.C. § 844.       The consumption of

methamphetamine is a felony under state law. N.C.G.S. § 90-95(a)(3). Due to the

fact there is probable cause to believe that Defendant committed a state felony, a

rebuttable presumption arises, pursuant to 18 U.S.C. § 3148, that no condition or

combination of conditions would assure that Defendant will not pose a danger to

the safety of any other person or the community.

      There has further been shown by clear and convincing evidence that the

Defendant violated other conditions of release in that it has been shown that

Defendant has violated the term and condition of release that she refrain from use

or unlawful possession of a narcotic drug unless it is prescribed by a licensed

medical practitioner.   The Defendant clearly violated this condition by using

methamphetamine which is a drug which is not prescribed by a licensed medical

practitioner. The Defendant has also violated the condition of release that ordered

her to participate in a home confinement program on home detention with

electronic monitoring by absconding from supervision.

      Due to the findings made above and further considering the presumption that

was created and also considering the factors as set forth in 18 U.S.C. § 3142(g), it

appears there is no condition or combination of conditions of release that will


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assure that the Defendant will not pose a danger to the safety of any other person

or the community and the release of Defendant would create a risk of flight on her

part. It is the opinion of the undersigned that based upon the Defendant’s actions,

it is unlikely that Defendant will abide by any condition or combination of

conditions of release. As a result of the above referenced findings, the undersigned

has determined to enter an Order of revocation revoking the unsecured bond and

the terms of pretrial release previously issued in this matter and entering an Order

detaining the Defendant.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and the terms

and conditions of pretrial release in this matter are hereby REVOKED and it is

ORDERED that Defendant be detained pending sentencing and further

proceedings in this matter.


                                      Signed: July 1, 2014




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